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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 PHILADELPHIA INDEMNITY                       §
 INSURANCE COMPANY,                           §
                                              §
         Plaintiff,                           §
                                              §       CASE NO. 4:17-CV-00697-O
 vs.                                          §
                                              §
 MOTOCICLETTA, INC.,                          §
                                              §
         Defendant.                           §
                                              §
                                              §


                                           ORDER

        Before the Court is Plaintiff’s Unopposed Motion to Consolidate. ECF No. 4. The Court,

having considered the Motion, finds that the Motion should be granted, thereby consolidating the

above-captioned case with Motocicletta, Inc. v. Philadelphia Indemnity Insurance Company, Civil

No. 4:17-CV-00728-O (N.D. Tex.), also pending before this Court. It is, therefore, ORDERED

that the relief requested in the Motion is GRANTED.

        SO ORDERED this 12th day of September, 2017.



                                            _____________________________________
                                            Reed O’Connor
                                            UNITED STATES DISTRICT JUDGE




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